                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

          Albert Yale et al,          )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:15-cv-00403-RJC-DSC
                                      )
                 vs.                  )
                                      )
     CommunityOne Bank, N.A.,         )
          Defendant(s).               )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s August 20, 2018 Order.

                                               August 20, 2018




      Case 3:15-cv-00403-RJC-DSC Document 97 Filed 08/20/18 Page 1 of 1
